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UNITED STA'l‘I~;S DlSTRlCT COuRT

for thc
Southern l)istrict othiO

vicki Chester

l 'ldnn])z¢)

V. Civil Action No. 218-€v-899

Pendlown Capital Mansgement lnc. dib/a Integated
Reoovery Servioes lnc.

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l)¢.'.kndanl/s)
SHMMONS IN A Clvu., ACrlON

To: a)¢/¢m‘x mm maddms/ Pendle'oon Capital Management |nc.
clo: |NCORP SERV|ES. |NC.
9435 wATERSTONE BLVD.
STE. 140
C|NC|NNAT| OH 45249

A lawsuit has been mod against ynu.

Within 21 days after sen/ice of this summons on you (not counting the day you received it) _ or 60 days if you
arc the United States or a United Stat¢s agency, or an officer or employee of the Unitcd Staus described in Fed. R. Civ.
l’. 12 (a)(2) or (3) - you must serve on thc plaintitl`an answer to the attached complaint or a motion under Rulc |2 of
the Fedcml Rulcs of(.'ivil Procedurc. The answer or motion must bc served on the plaintilT or plaintiffs attorncy,
whose name and addr¢ss arc: Jondh¢n Hilbon

HlLTON PARKER LLC

10400 Btackltck-Eastem Rd NW, Sve_ 110
Pid<eringoon, oH 43147

Tel; (614) 992-2277, Ernai: jhi|ton@hittonparkef.com

ll'you fail to respond, judgment by default will be entered against you for the relief demanded in thc complaint
You also must file your answer or motion with thc court.

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mm 08120;2018 K`,/ ”`V{'/" `\ " 139 //_ .

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was received by me on (¢Ma) 8120/18

0 l personally served thc summons on the individual al(pluc¢}
on /dnm)

Cl l left the summons at thc individual’$ residence or usual place ol° abode with (mm¢)
. a person of suitable age and discretion who resides thcr¢.

v _.amt maitad a copy w tha individuat’s tag known address; or

 

on (darc)
d l served me summons on (,.m .JMM) Nieole __Wayman, lntake Servioa of Prooess Specia|ist ,`who ts

 

designated by law to annabi mine or mae an bahatrar /..a.... emm., Pendtenon cabinat_ Managamam

lm., dolnoorp$el'v|nc.,MS$WatefStOneBlVd..Sfe.leO On{dare) 8!22/`|8!¢4200PM ;or

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;or

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Myfesate$ 0

 
   

l declare under penalty of perjury that this information is true.

8@/18

l)atc: _._ ._ _
kennedyan

Janiee Cambizam, Proces Server
Prt'n¢e¢l nunc and tide n __
Amrnann Frocess Servets. LLC
407 the SL, Ste. 201

Cinc`l'l'|ati. OH 45202
513-477-6212

S¢rver'so&ire.w

Additional inlormalion n:gzm.ling attempted scrvicc, ctc:
°Stlnmons served with Complaint;
+ Physica| Deecription of recipient FM§IWI 5'6"/ 130 LBS./ BLUE EYES/ BLONDE HA|R

 

